UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CASE NO. 3:17-cv-149-FDW-DCK

CARLSON ENVIRONMENTAL )
CONSULTANTS, PC, )
)
Plaintiff, )
) AFFIDAVIT OF ANDREW MURRER
v. )
)
SEAN SLAYTON, )
)
Defendant. )

I, Andrew Murrer, being duly sown, depose and state the following:

1. I am over the age of 18 and otherwise competent to make this affidavit. The statements made
in this affidavit are based on my personal knowledge, unless otherwise indicated upon information and belief.
2. I am the Construction Manager for Advance One Development, LLC, a construction company

that builds landfill gas systems. In my role as Construction Manager, I organize and facilitate the- drilling
subcontracts for Advance One Development.

3. Toward the end of 2016, I received a memo from one of the principals of Carlson
Environmental Consultants, PC, informing me that CEC would be very busy during 2017 and would not be
able to entertain any quotes for drilling subcontract work for the foreseeable future.

4, Sean Slayton has not contacted Advance One Developme y° solicit drilling work at any time
since his employment with Carlson Environmental Consultant Pend

This the_{A day of September, 2017.
‘ eo! MURRER

STATE OF NORTH CAROLINA
MECKLENBURG COUNTY

I, SS Zann Foust leg , a Notary Public do hereby certify that ANDREW MURRER, personally
appeared before me this day and acknowledged the due execution of the foregoing Affidavit.

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es et hand and official seal, this the_{Q day of September, 2017.

rhb

VSIAK

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